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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

In re                                                         Chapter 11

BLANK LABEL GROUP, INC., et al.,                              Case No. 23-10286 (JTD)

                          Debtors.1                           Jointly Administered


                                           NOTICE OF SERVICE

        I, Ericka Johnson, hereby certify that on July 1, 2024, a copy of Danny Wong’s

Objections and Responses to Trustee’s Request for Examination and Production of Documents

Directed to Danny Wong was served via electronic mail on the parties listed below:


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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are
    as follows Blank Label Group, Inc. (6183); BlackLapel Custom Clothiers, Inc. (3725); and Ratio Clothing, LLC
    (8330). The Debtors’ mailing address is 36 Bromfield Street, 204, Boston, MA 02108.
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Dated: July 1, 2024                 BAYARD, P.A.
       Wilmington, Delaware
                                    /s/ Ericka F. Johnson
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